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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA



     vs.                                    Criminal Action 2:12-CR-0074(3)
                                            Judge Graham


SHERIDAN L. GILBERT


                          REPORT AND RECOMMENDATION
            The United States of America and defendant Sheridan L. Gilbert
entered into a plea agreement whereby defendant agreed to enter a plea
of guilty to Count One of an Indictment charging him with conspiracy to
distribute and to possess with the intent to distribute more than 100
kilograms of marijuana in violation of 21 U.S.C. §§ 841, 846. On August
8, 2012, defendant, accompanied by counsel, appeared for a change of plea
proceeding.   Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to
enter a guilty plea before a Magistrate Judge.             See United States v.
Cukaj, 2001 WL 1587410 at *1 (6th Cir. 2001) [Magistrate Judge may accept
a guilty plea with the express consent of the defendant and where no
objection to the report and recommendation is filed]; United States v.
Torres, 258 F.3d 791, 796 (8th Cir. 2001); United States v. Dees, 125 F.3d
261, 263-69 (5th Cir. 1997); United States v. Ciapponi, 77 F.3d 1247, 1251
(10th Cir. 1996).
            During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions. Based
on that observation, the undersigned is satisfied that, at the time           the
guilty plea was entered, defendant was in full possession of defendant’s
faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.
            Prior to accepting defendant’s plea, the undersigned addressed
defendant   personally   and   in   open   court   and   determined   defendant’s
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competence to plead.            Based on the observations of the undersigned,
defendant understands the nature and meaning of the charge returned in
Count One of the Indictment and the consequences of the plea.                   Defendant
was also addressed personally and in open court and advised of each of
the rights referred to in Rule 11 of the Federal Rules of Criminal
Procedure.
                Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.                      Defendant acknowledged
that the plea agreement signed by defendant, defendant’s attorney and the
attorney for the United States and filed on July 25, 2012 represents the
only promises made by anyone regarding the charge in the Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, defendant may
nevertheless not withdraw the guilty plea.
                Defendant confirmed the accuracy of the material aspects of
the statement of facts supporting the charge.                  Defendant confirmed that
he is pleading guilty to Count One of the Indictment because he is in
fact guilty of the offense charged in Count One of the Indictment.                       The
Court concludes that there is a factual basis for the plea.
                The Court concludes that defendant’s plea of guilty to Count
One   of    the        Indictment    is    knowingly    and    voluntarily     made   with
understanding of the nature and meaning of the charge and of the
consequences of the plea.
                It     is   therefore     RECOMMENDED   that    defendant     Sheridan   L.
Gilbert’s guilty plea to Count One of the Indictment be accepted.
Decision on acceptance or rejection of the plea agreement was deferred
for consideration by the District Judge after the preparation of a
presentence investigation report.
                In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed     to     by     defendant      through    counsel,    a    written   presentence


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investigation report will be prepared by the United States Probation
Office.   Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.              Objections to the
presentence report must be made in accordance with the rules of this
Court.
            If any party seeks review by the District Judge of this Report

and Recommendation, that party may, within fourteen (14) days, file and

serve on all parties objections to the Report and Recommendation,

specifically designating this Report and Recommendation, and the part

thereof in question, as well as the basis for objection thereto.                  28

U.S.C. §636(b)(1); F.R. Civ. P. 72(b).        Response to objections must be

filed within fourteen (14) days after being served with a copy thereof.

F.R. Civ. P. 72(b).

            The parties are specifically advised that failure to object to

the Report and Recommendation will result in a waiver of the right to de

novo review by the District Judge and of the right to appeal the decision

of the District Court adopting the Report and Recommendation. See Thomas

v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of Teachers,

Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States v. Walters,

638 F.2d 947 (6th Cir. 1981).




August 8, 2012                            s/ Norah McCann King
 Date                                        Norah McCann King
                                      United States Magistrate Judge




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